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09/27/2019 01:09 AM CDT




                                                       - 762 -
                                  Nebraska Supreme Court A dvance Sheets
                                          303 Nebraska R eports
                                   STATE EX REL. COUNSEL FOR DIS. v. KHALEEQ
                                               Cite as 303 Neb. 762



                          State     of Nebraska ex rel. Counsel for Discipline
                                of the   Nebraska Supreme Court, relator,
                                    v. Bilal A hmed K haleeq, respondent.
                                                   ___ N.W.2d ___

                                         Filed July 26, 2019.    No. S-18-640.

                    Original action. Judgment of disbarment.
                 Heavican, C.J., Miller‑Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                      INTRODUCTION
                  This case is before the court on the voluntary surrender of
               license filed by respondent, Bilal Ahmed Khaleeq, on June 14,
               2019. The court accepts respondent’s voluntary surrender of
               his license and enters a judgment of disbarment.
                                 STATEMENT OF FACTS
                  Respondent was admitted to the practice of law in the State
               of Nebraska on September 20, 2007. He has also practiced
               law in Dallas, Texas. On October 9, 2018, relator filed for-
               mal charges against respondent. The formal charges state that
               respondent entered a guilty plea to violating 18 U.S.C. § 371
               and 8 U.S.C. § 1325(c) (2012) (conspiracy to commit marriage
               fraud) in case No. 3:17‑CR‑00359‑N in the U.S. District Court
               for the Northern District of Texas, Dallas Division. He was
               sentenced to 6 months’ incarceration and ordered to pay a fine
               of $10,000. The formal charges allege that respondent violated
               his oath of office as an attorney licensed to practice law in
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           Nebraska Supreme Court A dvance Sheets
                   303 Nebraska R eports
           STATE EX REL. COUNSEL FOR DIS. v. KHALEEQ
                       Cite as 303 Neb. 762
the State of Nebraska as provided by Neb. Rev. Stat. § 7‑104
(Reissue 2012) and Neb. R. of Prof. Cond. § 3‑508.4(a)
through (c) (rev. 2016) (misconduct).
   On June 14, 2019, respondent filed a voluntary surrender of
license to practice law, in which he stated that he knowingly
does not contest the truth of the allegations set forth in the
formal charges. Respondent stated that he freely and volun-
tarily surrenders his privilege to practice law in the State of
Nebraska; waives his right to notice, appearance, or hearing
prior to the entry of an order of disbarment; and consents to the
entry of an immediate order of disbarment.
                          ANALYSIS
   Neb. Ct. R. § 3‑315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
Pursuant to § 3‑315 of the disciplinary rules, we find that
respondent has voluntarily surrendered his license to practice
law and knowingly does not challenge or contest the truth
of the allegations that were made against him in connection
with his federal conviction. Further, respondent has waived all
proceedings against him in connection therewith. We further
find that respondent has consented to the entry of an order
of disbarment.
                        CONCLUSION
  Upon due consideration of the court file in this matter, the
court finds that respondent has stated that he freely, knowingly,
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           Nebraska Supreme Court A dvance Sheets
                   303 Nebraska R eports
           STATE EX REL. COUNSEL FOR DIS. v. KHALEEQ
                       Cite as 303 Neb. 762
and voluntarily admits that he does not contest the allega-
tions being made against him. The court accepts respondent’s
voluntary surrender of his license to practice law, finds that
respond­ent should be disbarred, and hereby orders him dis-
barred from the practice of law in the State of Nebraska, effec-
tive immediately. Respondent shall forthwith comply with all
terms of Neb. Ct. R. § 3‑316 (rev. 2014) of the disciplinary
rules, and upon failure to do so, he shall be subject to punish-
ment for contempt of this court. Accordingly, respondent is
directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7‑114 and 7‑115 (Reissue 2012) and Neb. Ct.
R. §§ 3‑310(P) (rev. 2014) and 3‑323 of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                                     Judgment of disbarment.
